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                                UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF OKLAHOMA

   VIDEO GAMING TECHNOLOGIES, INC.,

                  Plaintiff,                                CASE NO. 17-CV-00454-GKF-JFJ

          vs.

   CASTLE HILL STUDIOS LLC, et al.

                  Defendants.


                DECLARATION OF MATTHEW J. ANTONELLI IN SUPPORT OF
                    DEFENDANTS’ MOTION TO COMPEL DISCOVERY

          1.      I am an attorney at Saul, Ewing, Arnstein & Lehr LLP, counsel for Defendants

   Castle Hill Studios LLC, Castle Hill Holdings LLC, and Ironworks Development LLC (together

   “Castle Hill”). I was admitted pro hac vice in this matter on October 27, 2017.

          2.      Attached as Exhibit A is a true and correct copy of a document produced by VGT

   to Castle Hill bearing Bates range VGT0022128 – VGT0022131.

          3.      Attached as Exhibit B is a true and correct copy of an email from Castle Hill’s

   counsel to VGT’s counsel dated July 31, 2018.

          4.      Attached as Exhibit C is a true and correct copy of an email from VGT’s counsel

   to Castle Hill’s counsel dated June 11, 2018.

          5.      I declare under penalty of perjury that the foregoing is true and correct.

   Executed on August 3, 2018 in Washington, District of Columbia.


                                                   /s/ Matthew J. Antonelli
                                                   Matthew J. Antonelli
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                                   CERTIFICATE OF SERVICE
          I hereby certify that on this 3rd day of August, 2018, I caused an unredacted copy of the
   foregoing Declaration to be served on the following counsel for Plaintiff who have consented to
   email service, via email:

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                                                           /s/ Matthew J. Antonelli
                                                               Matthew J. Antonelli




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